          Case 5:18-cv-00920-G Document 89 Filed 09/09/19 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


(1) QUILL INK BOOKS LIMITED, a
foreign corporation.

      Plaintiff,


V.                                                     CaseNo.:CIV-18-920-G


(1) ABCD GRAPHICS AND DESIGN,
INC., D/B/A BLUSHING BOOKS
PUBLISHING, a foreign corporation, et al.

       Defendants.




                       DEFENDANT'S OFFER OF JUDGMENT



       Defendant, ABCD Graphics and Design, Inc. d/b/a Blushing Books Publishing

("Defendant"), pursuant to Fed. R. Civ. P. 68, extends the following offer ofjudgment to

Plaintiff, Quill Ink Books Limited ("Plaintiff) and stipulates that Zoey Ellis's Myth of

Omega series does not plagiarize Addison Cain's Alpha's Claim series, and the take-down

notices transmitted pursuant to the Digital Millennium Copyright Act are invalid.

       Defendant hereby waives the 14-day requirement of Rule 68 and consents to

Magistrate Judge Suzanne Mitchell entering final disposition of this case.
   Case 5:18-cv-00920-G Document 89 Filed 09/09/19 Page 2 of 3




Dated this 9th day of September, 2019.


                                    s/Becky Briggs
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                                    ATTORNEY FOR DEFENDANT
          Case 5:18-cv-00920-G Document 89 Filed 09/09/19 Page 3 of 3




                             CERTIFICATE OF SERVICE


       I hereby certify that on this 9th day of September, 2019,1 electronically transmitted

the attached document to the Clerk of Court using the ECF System for filing. Based on the

records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to

the following ECF registrants:

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                                              s/Becky Brings
